     Case 1:07-cr-00064-PB   Document 27   Filed 09/20/07   Page 1 of 2




                    UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF NEW HAMPSHIRE



United States of America

     v.                                      Case No. 07-cr-64-01-PB

Jason Thomas



                               O R D E R

     The defendant, through counsel, has moved to continue the

October 10, 2007 trial in the above case, citing the need for

additional time to negotiate a plea agreement or prepare for

trial.    The government does not object to a continuance of the

trial date.

     Accordingly, for the above reason and to allow the parties

additional time to properly prepare for trial, the court will

continue the trial from October 10, 2007 to January 8, 2008.              In

agreeing to continue the trial, the court finds pursuant to 18

U.S.C.A. § 3161(h)(8)(A) that for the above-stated reasons, the

ends of justice served in granting a continuance outweigh the

best interests of the public and the defendant in a speedy trial.
      Case 1:07-cr-00064-PB   Document 27   Filed 09/20/07   Page 2 of 2




      The October 2, 2007 final pretrial conference is continued

to December 20, 2007 at 4:00 p.m.

      SO ORDERED.




                                         /s/Paul Barbadoro
                                         Paul Barbadoro
                                         United States District Judge

September 19, 2007

cc:   Bjorn Lange, Esq.
      Peter Papps, Esq.
      United States Probation
      United States Marshal




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